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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
 ----------------------------------------------------------X
 DIANA REYNOLDS and SANDRA HIGH,
 Individually and on behalf of all others                    Case No. 17-cv-00170
 similarly situated,

                                    Plaintiffs,                Hon. John J. Tharp, Jr.
                                                               Hon. Young B. Kim
                  v.

 CHW GROUP, INC., d/b/a Choice Home
 Warranty, a New Jersey Corporation,

                                     Defendant.
 ----------------------------------------------------------X

                                  NOTICE OF UNOPPOSED MOTION

 TO: All counsel of Record in this matter, notified via CM/ECF

 PLEASE TAKE NOTICE that on February 27, 2019 at 11:00 a.m., or as soon thereafter as
 counsel may be heard, we shall appear before the Hon. Young B. Kim, in the courtroom usually
 occupied by him (Room 1019) of the United States District Court for the Northern District of
 Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois, and then and there present
 DEFENDANT’S UNOPPOSED MOTION TO ADJOURN STATUS HEARING, a copy of
 which is being served upon you by ECF notification.

Dated: February 21, 2019                       Respectfully submitted,

                                               By:      /s/ Andrew J. Urgenson
                                                        Andrew J. Urgenson (pro hac vice)
                                                        OVED & OVED LLP
                                                        401 Greenwich Street
                                                        New York, NY 10013
                                                        Tel. 212.226.2376

                                                        /s/ John M. Dickman
                                                        John M. Dickman
                                                        OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.
                                                        155 North Wacker Drive, Suite 4300
                                                        Chicago, IL 60606
                                                        Tel. 312.558.1255

                                                        Attorneys for Defendant CHW Group, Inc.
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 21, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send a Notice of Electronic Filing

to all counsel of record.

                                            /s/ Andrew J. Urgenson
                                            Andrew J. Urgenson
